                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

WILLIAM DESENA and
SANDRA W. DUNHAM,
Plaintiffs
                                                Civil Action No. 1:11-cv-00117-GZS-DBH-BMS

          Vs.

STATE OF MAINE, PAUL LEPAGE,
KEVIN RAYE, ROBERT NUTTING,
CHARLES E. SUMMERS, JR.,
Defendants

                MOTION TO INTERVENE R.24, F.R.C.P., AND INCORPORATED
                              MEMORANDUM OF LAW

          NOW COMES the Maine Democratic Party, by and through its undersigned counsel, and

moves to intervene in the above-captioned case and to file the attached Answer, pursuant to Rule

24, F.R.C.P., on the following grounds:

          1.      The Maine Democratic Party is the state branch of the National Democratic Party,

with headquarters at 16 Winthrop Street, P.O. Box 5258, Augusta, Maine.

          2.      Plaintiffs’ Complaint requests that the three-judge court take the unusual action of

redrawing the lines between Maine’s two Congressional Districts.

          3.      No constitutional violations have been found in the current apportionment of the

two Congressional Districts in Maine established by law in 2003.

          4.      The United States Constitution, art. I, sec.4, cl.1, delegates to the states the

responsibility for determining the times, places and manner of holding elections for Members of

Congress, and this provision has been interpreted to allow the states to set the boundaries of the

various Congressional Districts with a frequency that takes into account the “need for stability

and continuity in the organization of the legislative system.” Reynolds v. Sims, 377 U.S. 533, 583

(1964).

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       5.      The Maine Legislature has established a detailed procedure for the drawing of

Congressional District lines. 21-A M.R.S. sec.1206. Maine’s procedure employs a bipartisan

commission described in Article IV, Part Third, Section 1-A of the Maine Constitution.

       6.      The commission that conducts redistricting under Maine law consists of an equal

number of members of the majority party and the minority party of the House, an equal number

of members of the majority party and the minority party of the Senate, the chairperson of each of

the two major political parties in the State or their designated representatives, and three members

from the general public, two of whom are selected by the political party members.

       7.      Maine law allows the apportionment commission 120 days from the convening of

the legislative session to submit an apportionment plan, ensuring that “each congressional district

is formed of compact and contiguous territory and crosses political subdivisions the least number

of times necessary to establish districts as equally populated as possible.” 21-A M.R.S.

§1206(1). The plan is subject to approval by the Governor.

       8.      A citizen or group of citizens may challenge a legislative apportionment plan in

the Maine Supreme Judicial Court. 21-A M.R.S. §1206(3).

       9.      If the Legislature fails to make an apportionment within 120 calendar days of

convening, the Maine Supreme Judicial Court may make the apportionment, taking into

consideration “plans and briefs filed by the public with the court during the first 30 days of the

period in which the court is required to apportion.” 21-A M.R.S. §1206(2).

       10.     Plaintiffs’ Complaint is dated March 28, 2011. The statutory adjournment date of

the current session of the Maine Legislature is June 15, 2011. The current proceeding allows

little or no time for legislative action should this Court find constitutional flaws with the current

time frame for Congressional redistricting.




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        11.    In every instance, both major political parties have been key participants in

redistricting, and members of the public have had the right to object and be heard.

        12.    All of the public officials named as defendants in this Complaint are prominent

members of the Republican Party; no members of the Democratic Party are currently parties to

the suit.

        13.    Plaintiffs’ Complaint seeks remedies that conceivably would shorten the

redistricting process, potentially undermining the need for a thoughtful, methodical, and fully

bipartisan process, with full opportunity for public input.

        14.    The Maine Democratic Party and the approximately 300,000 Maine citizens

whom it represents, including the 2 individuals who represent Maine in the United States

Congress, have a significant interest in the subject matter of this proceeding, which interest is not

represented by the existing parties in the suit, such that intervention is required pursuant to Rule

24(a)(2), F.R.C.P.

        WHEREFORE, the undersigned respectfully moves that the court permit the Maine

Democratic Party to intervene and to file the attached Answer and be heard on the substantive

issues in the case and on any proposed remedy should the Court find constitutional infirmities

with the current apportionment schedule.


                                              Respectfully submitted,
Dated April 26, 2011
                                              s/s Janet T. Mills__________________________
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                                CERTIFICATE OF SERVICE


       I, Janet T. Mills, hereby certify that I electronically filed Defendant’s Motion to Intervene

and attached Answer with the CM/ECF system, which will send notification of such filing(s)

electronically to the following: Timothy C. Woodcock at twoodcock@eatonpeabody.com,

William J. Schneider, Attorney General at william.j.schneider@maine.gov, and Paul Stern,

Assistant Attorney General at paul.d.stern@maine.gov.



                                             Respectfully submitted,


Dated April 26, 2011
                                             s/s Janet T. Mills__________________________
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